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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                )
IN RE: PHARMACEUTICAL INDUSTRY                  )    MDL No. 1456
AVERAGE WHOLESALE PRICE                         )    Master File No. 1:01-CV-12257-PBS
LITIGATION                                      )    Sub-Category Case No. 1:08-CV-11200
                                                )
                                                )
                                                )    Judge Patti B. Saris
THIS DOCUMENT RELATES TO:                       )
United States ex rel. Linnette Sun and Greg     )
Hamilton, Relators                              )
                                                )
 v.                                             )
Baxter Hemoglobin Therapeutics and Baxter       )
International Inc.                              )
                                                )

             DECLARATION OF RUCHI JAIN IN SUPPORT OF
       BAXTER INTERNATIONAL INC.’S SUPPLEMENTAL REPLY BRIEF
 IN FURTHER SUPPORT OF ITS MOTION TO DISMISS RELATORS’ COMPLAINT
           I, RUCHI JAIN, duly declare under penalty of perjury as follows:

           1.     I am an attorney at law admitted to practice in the State of New York and the

District of Columbia and am an attorney in the law firm of Dickstein Shapiro LLP, counsel for

Defendant Baxter International Inc. I am familiar with all of the facts and circumstances herein.

I make this declaration in support of Baxter International Inc.’s Supplemental Reply Brief In

Further Support Of Its Motion To Dismiss Relators’ Complaint in the above-captioned action.

           2.     Attached hereto as Exhibit A is a true and correct copy of the Transcript of the

January 19, 2010 Deposition of Linnette Sun and Sun Exhibits 1-14.

           3.     Attached hereto as Exhibit B is a true and correct copy of the Transcript of the

January 21, 2010 Deposition of Greg Hamilton and Hamilton Exhibits 1-21.

           4.     Attached hereto as Exhibit C is a true and correct copy of the December 20,

2009 Letter from Mark Kleiman to Merle DeLancey.




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             5.     Attached hereto as Exhibit D is a true and correct copy of the October 20,

  2003 Baxter Press Release Concerning the Acquisition of Aralast.

             6.     Attached hereto as Exhibit E is a true and correct copy of the February 10,

  2005 email from Mark Kleiman to Michael Theis with draft complaint attached (GH001745-

  1827).

             7.     Attached hereto as Exhibit F is a true and correct copy of the February 12,

  2005 email from Mark Kleiman to Michael Theis (GH001828).


Dated: January 27, 2010                      __/s/ Ruchi Jain_____________
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                                 CERTIFICATE OF SERVICE

           I hereby certify that I, Ruchi Jain, an attorney, electronically filed the foregoing
DECLARATION OF RUCHI JAIN IN SUPPORT OF BAXTER INTERNATIONAL INC.’S
SUPPLEMENTAL REPLY BRIEF IN FURTHER SUPPORT OF ITS MOTION TO DISMISS
RELATORS’ COMPLAINT with the Clerk of the Court for the District of Massachusetts using
the Court’s CM/ECF system on January 27, 2010. I also caused a true and correct copy of the
foregoing document to be delivered to all counsel of record by electronic service via LexisNexis
File & Serve, for posting and notification to all parties. In addition, the individuals listed below
were served via U.S. Mail.

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